                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                            Criminal No. 18-120 (NEB/KMM)

UNITED STATES OF AMERICA,

                             Plaintiff,
                                                           UNITED STATES’ RESPONSE
                      v.                                   TO DEFENDANT’S
                                                           SENTENCING POSITION
DWIGHT FREDERICK BARNES,

                             Defendant.

       The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and LeeAnn K. Bell, Assistant United

States Attorney, submits its response to Defendant’s Positon Regarding Sentencing, Dkt.

317.

       There is no dispute that Court has an obligation to correctly calculate the Guidelines.

With respect to the Base Offense Level, there is also no dispute that it is correct as set forth

in the Presentence Investigation Report (“PSR”). The question then becomes whether the

statutory sentencing factors set forth in 18 U.S.C. § 3553(a) merit a variance from the

Guidelines in this case. Defendant argues that a variance is warranted because of the

disparity between how the Guidelines treat a mixture and substance containing

methamphetamine versus how the Guidelines treat the actual amount of methamphetamine

involved.

       By way of background, the Guidelines address methamphetamine in three possible

ways, and direct the application of the provision that results in the highest base offense

level: (1) the amount of the total weight of any mixture containing methamphetamine; (2)
the amount of actual methamphetamine contained in the mixture (the total weight

multiplied by the purity); or (3) the amount of “ice,” that is the a mixture of a substance

that is at least 80% pure.1 U.S.S.G. § 2D1.1. The resulting Guidelines are generally

higher for the amount of actual methamphetamine (or ice) than for the amount of the

mixture of methamphetamine, which creates the alleged disparity.

       There is no dispute that some courts have taken the position that they do not agree

with the differentiation for actual methamphetamine in the Guidelines. To be clear, the

United States agrees that the Court may disagree with the Guidelines. One of the ways a

court can exercise a disagreement in methamphetamine cases is to correctly calculate the

Guidelines using the actual Guidelines, but then also consider the mixture Guidelines.

However, as pointed out by Defendant, whether or not the court disagrees with the

Guidelines, the ultimate question remains whether or not the Guidelines in each particular

case over represent some aspect of the sentencing factors. See Dkt. 317 at 20, citing

United States v. Jennings, 2017 WL 2609038 (D. Idaho, 2017). Because in this case the

actual Guidelines do not cause a result that merits a downward variance, the Court need

not rule on whether it agrees or disagrees with the Guidelines themselves.

       In this case, were the Court to use only the methamphetamine seized on October 20,

2017, to determine the base offense level under the Guidelines (including two levels for




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  In my experience, the “ice” Guideline has never been used, likely because actual amount
of methamphetamine versus the mixture are what is significant. Thus, I will not address
the issue of the ice-related Guideline application here.
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obstruction of justice) the different approaches would yield the following (applying the

undisputed Criminal History Category IV):

    Methamphetamine Actual Total Offense Level 36 (Base Offense 34 + 2 obstruction)
     = 262-327 months’ imprisonment

    Methamphetamine Mixture Total Offense Level 32 (Base Offense 30 + 2
     obstruction) = 168-210 months’ imprisonment

U.S.S.G. § 2D1.1.

       As described by Defendant, some courts have asserted that the amount of actual

methamphetamine contained in the mixture is no longer a metric to measure the seriousness

or severity of the offense as was arguably one of the original purposes for the different

Guidelines. This argument, that methamphetamine is now nearly always pure whether

found in possession of a kingpin or a mule, might be persuasive where the Defendant in

this case a mule, but he was not. Instead, Defendant was the head of a distribution ring in

Rochester, Minnesota.

       It is true that the United States did not argue that the Guidelines required an

enhancement for his role. However, that is not the end of the analysis in the context of

the § 3553(a) factors.    Here, Defendant was the head of the conspiracy insofar as

Minnesota was concerned. Of course, his brother had the connection to the Mexican

source of supply, but his brother was not running a conspiracy to receive and then distribute

the methamphetamine in Rochester. Instead, Defendant used others (both with their

knowledge and without) to obtain address to send packages and he used others to physically

collect the packages, thereby insulating himself from the risks of doing so. He also sold

methamphetamine to others who he knew would in turn distribute those quantities. Thus,
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to the extent that the methamphetamine actual Guidelines serve as a proxy for a defendant’s

role, here that role is not overstated by the application of those Guidelines.

       In this case, there is no dispute that Defendant is responsible for the

methamphetamine seized on October 20, 2017, as well as any methamphetamine that the

Court finds by a preponderance of the evidence was part of the conspiracy. Any amounts

of drugs that the Court finds were part of the conspiracy, can be included in this Court’s

consideration of the overall sentence under 18 U.S.C. § 3553(a).2

       At trial, the United States presented evidence that Defendant picked up four

additional packages of methamphetamine at the Hoerner residence during the conspiracy.

The Court will also recall that because of the class of mail used to send the various packages

the information about each package varied and that the most information was available

from the May 13 and May 16, 2017, packages. For example, the Court could look to the

labels for each of the May packages. They were admitted at trial and could be compared to

the writing on the label of the October 20, 2017, package. The labels show by a

preponderance of the evidence that all of the packages were sent by the same person

because the handwriting is obviously by the same person:




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 The amounts could also be included in calculating the Guidelines, but here the additional
mixture amounts would not change the Guidelines.
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       And, if the person (Defendant’s brother) was sending methamphetamine on October

20, 2017, the May packages also contained methamphetamine and based on their weight,

it was a similar amount. Further, with respect to the July 2017 packages, although the

Postal Service did not maintain a copy of the label, we know that the July packages were

sent to the Hoerner residence and that, like all of the other packages, Defendant traveled to

the area of the Hoerner residence near the time those packages were delivered. All of this

combined with the other witness testimony at trial about the ongoing nature of packages of

drugs being sent to Defendant at the Hoerner residence from Defendant’s brother, the Court

should conclude that the other four packages contained methamphetamine. We also know

from the testimony of Sarah Whitewater that at least one other address was used by

Defendant to receive packages. Given all of this, the Court should consider the ongoing

nature of the offense, including the four other packages in assessing whether a variance is

appropriate in this case.


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       Finally, Defendant has cited a number of individual cases he asks the Court to use

for comparison (as examples of other methamphetamine mixture variances and as

examples of sentences that were imposed that show that his request for a sentence of 135

months is reasonable). Dkt. 317 at 37-39, 50-52. This Court is not required to engage in

a comparison of the sentences of other allegedly similar defendants. See United States v.

Keys, 918 F.3d 982, 989 (8th Cir. 2019) (“We have repeatedly declined to require district

judges to compare and contrast the defendant being sentenced with allegedly similar prior

offenders.”). And, it would be impossible for this Court to know and understand the

details of these individual cases such that a direct comparison was possible.3 It is certainly

possible that someone who responsible for more methamphetamine than Defendant might

have received a sentence that is shorter than the one the United States is asking the Court

to impose here. That of course is depends on a wide variety of factors. For example, two

defendants might both be in Criminal History Category IV, but one has several minor

offenses, while the other person may have a long history of serious convictions which did

not receive points under the Guidelines because of their age. The Court would rightly

treat those two defendants differently.




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  While the undersigned did not go through each case identified by Defendant, the
undersigned happened to be co-counsel on U.S. v. Edgar Sierra Serrano, 19-61
(ECT/KMM) and Defendant does not correctly state the sentenced imposed (Defendant
represents Sierra-Serrano was sentenced to 180 months, when he was actually sentenced
to 200 months). See U.S. v. Edgar Sierra Serrano, 19-61 (ECT/KMM) Dkt. 163.
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      Ultimately, it is the position of the United States that the appropriate sentence is 262

months when the Court considers all the sentencing factors, including the fact that

Defendant is on supervised release.



Dated: July 16, 2020                                     Respectfully Submitted,

                                                         ERICA H. MacDONALD
                                                         United States Attorney

                                                         s/ LeeAnn K. Bell

                                                         BY: LEEANN K. BELL
                                                         Assistant U.S. Attorney




                                             7
